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                       PROPOSED SCHEDULING ORDER WORKSHEET

Case No.: 20-cv-03852 (DG) (JMW)

Date of Initial Conference: August 17, 2021 at 11:00 am

 Plaintiff(s): AA MEDICAL, P.C.

 Defendants(s):           KHALED ALMANSOORI

 PLAINTIFF’S PROPOSED DEADLINES 1

9/17/21          :        Exchange of Rule 26(a)(1) disclosures

10/8/21          :        Service of first interrogatories and document demands

11/19/21         :        Responses to first interrogatories and document demands

60 days from
Completion of
Depositions :             Motions to join new parties or amend the pleadings

                 :        Status conference to be held (Date and Time)

1/31/22          :        Completion of depositions

2/14/22          :        Identification of case-in-chief experts and service of Rule 26 disclosures

3/14/22          :        Identification of rebuttal experts and service of Rule 26 disclosures

3/31/22         :      Commencement of summary judgment motion practice. Depending on the
assigned district judge, the first action commencing the practice would be either requesting a pre-
motion conference or initiating the exchange of Local Rule 56.1 statement. Parties are required to
consult the individual rules of the district judgment regarding motion practice.




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  The parties have not been able to agree on a discovery schedule, and accordingly submit herein separate proposals,
due to Defendant’s position that discovery should be stayed pending resolution of Defendant’s motion to dismiss
that relates to all of the claims in Plaintiff’s amended complaint. Defendant asserts that, for purposes of judicial
economy and efficiency and to protect Defendant from undue burden, discovery should not commence until the
Court’s ruling on Defendant’s forthcoming motion to dismiss Plaintiff’s consolidated amended complaint (See
August 3, 2021 Order). Pursuant to this Court’s rules of practice, Defendant will submit a motion in advance of the
Initial Conference seeking and providing additional detail in support of a stay on discovery.
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 DEFENDANT’S PROPOSED DEADLINES

30 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Exchange of Rule 26(a)(1) disclosures

60 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Service of first interrogatories and document demands

90 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Responses to first interrogatories and document demands

120 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Motions to join new parties or amend the pleadings

                       :      Status conference to be held (Date and Time)

210 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Completion of depositions

270 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Identification of case-in-chief experts and service of Rule 26
disclosures

300 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Identification of rebuttal experts and service of Rule 26 disclosures

330 days from Court’s
ruling on Defendant’s
Motion to Dismiss :           Commencement of summary judgment motion practice.
Depending on the assigned district judge, the first action commencing the practice would be
either requesting a pre-motion conference or initiating the exchange of Local Rule 56.1
statement. Parties are required to consult the individual rules of the district judgment regarding
motion practice.




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COURT APPEARANCES

                :      Pretrial conference in courtroom 1024 of the Central Islip courthouse. If the
trial judge requires one, a joint proposed pretrial order in compliance with that judge’s
requirements and signed by counsel for each party must be received by the undersigned 3 business
days prior this conference (Date and Time).

ESI DISCOVERY

Have counsel discussed the existence of electronically stored information, discussed the location
and production of such information, as required by Rule 26? YES            NO X

Have the parties entered into an ESI protocol stipulation? YES       NO     X

Alternatively, if no ESI protocol is necessary because of the limited amount of ESI in the case,
please check here:

CONFIDENTIALITY

Do the parties anticipate the need for a confidentiality stipulation and order? YES X NO

MAGISTRATE CONSENT

Do the parties consent to all proceedings, including trial, before a magistrate judge pursuant to 28
U.S.C. § 636(c)? YES/NO (Answer no if any party declines to consent without indicating which
party has declined. Parties are free to withhold consent without adverse substantive
consequences.) NO

COUNSEL:

For Plaintiff(s)       /s/ David A. Antwork (DA1168)

For Defendant(s)       /s/ Adam Kleinberg




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